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             IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                     CENTRAL DIVISION




 OWNER-OPERATOR INDEPEDENT
 DRIVERS ASSOCIATION, INC., and
 THOMAS SHUTT, WILLIAM PIPER, DON
 SULLIVAN, SR., JAMES MURPHY, and
 WALTER WILLIAMS individually, and on                 MEMORANDUM DECISION AND
 behalf of all others similarly situated,             ORDER OVERRULING PARTIAL
                                                      OBJECTION TO THE
                                                 MAGISTRATE JUDGE’S ORDER
                                                 GRANTING MOTION FOR AWARD
                                                 OF PREJUDGMENT INTEREST
                                                 DATED MAY 21, 2009
        Plaintiffs,


                vs.


 C.R. ENGLAND, INC.,                                     Case No. 2:02-CV-950 TS
        Defendant.




       This matter is before the Court on Defendant’s Partial Objection to the Magistrate

Judge’s Memorandum and Decision and Order Granting Motion for Award of Prejudgment

Interest Dated May 21, 2009.

                                         I. Background

       This case originally came before the Court on Plaintiffs’ allegations that the form lease

agreements Defendant required its independent contractor drivers to sign violated the Federal



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Truth in Leasing Act - 49 U.S.C. § § 14102 and 14704, et seq. - and accompanying Department

of Transportation Regulations - 49 C.F.R. § 376, et seq. After a bench trial, this Court held

Defendant had violated the Regulations according to Plaintiffs’ allegations. Following a

judgment favoring Plaintiffs, and an order from this Court dealing with the finalization of

accounting, damages and restitution, the parties entered into a dispute regarding the award of

prejudgment interest and the applicable rate.1 Plaintiffs alleged Defendant improperly

administered escrow funds established under the lease agreements (Independent Contractor

Operating Agreement or ICOA).

       Following a partial order and supplemental briefing from the parties, the Magistrate

Judge entered a final order granting Plaintiffs prejudgment interest, specifying the interest rates

applicable and various times for various types of agreements. It is a portion of that order

Defendant presently contests.

                                  II. Magistrate Judge’s Decision

       On May 21, 2009, Magistrate Judge Nuffer granted Plaintiff’s motion for prejudgment

interest.2 The Magistrate determined that the relationship between the parties was contractual,

based on the ICOA.3 The contract provides the funds in escrow will be paid out within 45 days

of termination of the lease relationship.4 One of the ICOAs also contains a provision governing

interest accruing on any amounts after 30 days past due between the parties. In that situation, the



       1
           Docket No. 358.
       2
           Docket No. 403.
       3
           Id. at 3.
       4
           Docket No. 382-2, Addendum at 2.

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 contract states “[a] finance charge of 1.5% per month (18% annually) will be charged on

 balances over 30 days past due.”5 However, not all of the ICOAs contain this 18% rate

 provision.

         The Magistrate Judge made four determinations:

 (a) the regulatory interest rate, also stated in the contract, applies to all balances held on deposit
 in the escrow;

 (b) the regulatory interest rate applies after sums under the ICOA are due and payable; but

(c) for Class Members whose ICOA specifies a default interest rate, that rate applies to sums over
30 days past due– that is after 45 days has passed since termination of the ICOA; and

(d) the Utah statutory rate does not apply because the contracts in this case are not silent
concerning interest rate provisions.

Those determinations are set out in the following chart:

    Type of Agreement        (including 45 days     30 Day “Grace Period”       Beyond “Grace Period”
                             after termination)

 ICOA with 18% default       Regulatory interest       Regulatory interest     ICOA default interest rate of
 interest rate provision        rate applies              rate applies               18% applies


ICOA without default         Regulatory interest       Regulatory interest         Regulatory interest
interest rate provision         rate applies              rate applies                rate applies




In making his determination, the Magistrate Judge went through a discussion of the Contractual,

Statutory, and Regulatory Provisions. The Utah statute provides that parties to a lawful contract

may agree upon a rate of interest for a loan or forbearance, but if no rate is specified, the rate is

10% per annum.6 The federal regulation on lease escrow funds states that while the escrow fund



         5
             Docket No. 382-2 (ICOA) at 4.
         6
             UTAH CODE ANN . § 15-1-1(2) (Supp. 1990).

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is under the control of the carrier, interest shall be paid on at least a quarterly basis.7 It further

states, “[t]he interest rate shall be established on the date the interest period begins and shall be at

least equal to the average yield or equivalent coupon issue yield on the 91-day, 13-week Treasury

bills as established in the weekly auction by the Department of Treasury.”8 The contract between

the parties states that escrow on which interest will be “paid quarterly based on the interest rate on

the 1st day of each quarter determined by the current average yield or equivalent upon issue yield

on 91 day, 13 week treasury bills as established on the preceding weekly auction by the U.S.

Department of Treasury.”9 Some contracts also state that a finance charge of 18% annually will

be applied to balances over 30 days past due.10

                                          III. Defendant’s Objection

        Defendant argues that determination (c) is incorrect as a matter of law, and has four basis

for its position. First, Defendant argues that the Truth-in-Leasing Regulations specify that the

Regulatory Rate applies only “while the escrow fund is under the control of the carrier.”11

Defendant further argues that the ICOA applies the Regulatory Rate to escrow funds.12 The

combination of these two provisions, Defendant maintains, specifically mandates use of the




         7
             49 C.F.R. § 376.12(k)(5).
         8
             Id.
         9
             Docket No. 382-2, Addendum at 7.
         10
              Id. at 4.
         11
              49 C.F.R. § 376.12(k)(5).
         12
              Docket No. 382-2.

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Regulatory Rate while the carrier has control of the funds.13 Second, Defendant argues that prior

cases under the regulations consistently apply the regulatory rate. Third, Defendant contends that

the 18% rate is improper because it contravenes the regulations and favors a general interest rate

over a specific interest rate. Finally, Defendant argues that the 18% rate is not a “reasonable rate”

as required by this Court.

                                           IV. Discussion

       28 U.S.C. § 636(b)(1)(A) and Rule 72(a) of the Federal Rules of Civil Procedure, permit a

district court to review a Magistrate Judge’s orders on nondispositive matters under a clearly

erroneous or contrary to law standard.14 The clearly erroneous standard applies to factual findings

and requires an affirmation of the Magistrate Judge’s decision unless “on the entire evidence [the

court] is left with the definite and firm conviction that a mistake has been committed.”15 The

contrary to law standard however, permits the district court to conduct a plenary review of the

magistrates purely legal determinations and may set aside an order if the wrong legal standard was

applied.16




        13
             Docket No. 404 at 6.
        14
        28 U.S.C. § 636(b)(1)(A); FED . R. CIV . P. 72(a); Sprint Communications Co. L.P. v.
 Vonage Holdings Corp., 500 F. Supp. 2d 1290, 1346 (D. Kan. 2007) (citing First Union
 Mortgage Corp. v. Smith, 229 F.3d 992, 995 (10th Cir. 2000)); Smith v. MCI
 Telecommunications Corp., 137 F.R.D. 25, 27 (D. Kan. 1991).
        15
         Smith, 137 F.R.D. at 27 (quoting United States v. United States Gypsum Co., 333 U.S.
 364, 395 (1948) (internal quotations omitted)); Sprint, 500 F.Supp. 2d at 1346.
        16
         Williams v. Vail Resorts Development Co., 2003 WL 25768656, at *2 (D. Wyo. Nov.
 14, 2003); Sprint, 500 F.Supp. 2d at 1346; see also Computer Econ., Inc. v. Gartner Group, Inc.,
 50 F.Supp. 2d 980, 983 (S.D. Cal. 1999).

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49 C.F.R. § 376.12(k)(5) states in part:

       That while the escrow fund is under the control of the carrier, the carrier shall pay
       interest on the escrow fund on at least a quarterly basis. . . .The interest rate shall
       be established on the date the interest period begins and shall be at least equal to
       the average yield or equivalent coupon issue yield on 91-day, 13 week Treasury
       bills as established on the weekly auction by the Department of Treasury.17


The statute does not say it shall be the average or yield equivalent of the Treasury bills, it states

that it must at least be equal to that rate. The statute sets the floor, it does not impose a blanket

mandatory rate. Defendant acknowledges this but continues to argue that rate stated in the

addendum to the ICOA is the appropriate contractual rate because it deals with escrow and is

therefore a specific rate. The rate set by the Magistrate is higher than the Treasury bill rate; it is

not contrary to law because the Regulation imposes a minimum amount but no cap. The rate set

by the Magistrate Judge is specified in the contracts, as the rate to be applied to defaults and

monies held over 30 days, which is the situation in which that rate is being imposed.

Additionally, the Magistrate Judge made a split determination and concluded that different Class

Members were subject to different interest rates based specifically on their particular ICOA.

Applying rates as set out in a contract is not contrary to law.

       Defendants other arguments also fail. Defendant cites three cases for the proposition that

pre-judgment interest should be awarded based on the regulatory rate, none of which are from a

court in the Tenth Circuit, and therefore do not create any precedent. Regardless, none of the

cases are helpful in resolving the issue before the Court. One of the cited cases states only that




         17
              49 C.F.R. § 376.12(k)(5) (emphasis added).

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plaintiffs are entitled to interest, but makes no mention of the interest rate to be applied.18

Another case does state that interest has been calculated according to the mandated rates set forth

in the truth-in-leasing regulations.19 However, this Court does not find any mandatory language

in the cited provisions. As already discussed, § 376.12(k) merely sets the floor, it does not

mandate a certain interest rate be used.20 The last case does not deal with interest rates at all, but

does mention that the escrow is limited and governed by the lease itself, contravening Defendant’s

position that the escrow is governed by the regulations.21 Moreover, the cases do not deal with the

issues currently before the Court and do not involve the same contracts. As already discussed,

this Court does not find the 18% rate contravenes the regulations.

        Additionally, the Court does not find it to be an error of law for the Magistrate to use the

specific provision dealing with default payments instead of the general provisions controlling

escrow. After review, the Court is not left with the definite and firm conclusion that the

Magistrate Judge’s decision concerning the reasonableness of the rate is clearly erroneous or

contrary to law.

        Based on the above, the Court does not find the Magistrate’s Order to be clearly

erroneous, nor does it find the wrong legal standard was used. It is therefore



        18
              Goode v. AAFAB, INC., No. 1:02-CV-3016, at 2-3 (N.D. Ga.. September 3, 2004)
 (Order).
         19
          Owner-Operator Independent Drivers Assoc., Inc. et al., v. Arctic Express, No. C2-97-
 750 (S.D. Ohio May 27, 2004) (Provisional Order Approving Class Settlement and Settlement
 Distribution Plan).
         20
              49 C.F.R. § 376.12(k)(5) (“the interest rate shall be. . . . at least equal too”).
         21
        Owner-Operator Independent Drivers Assoc., Inc. v. Ledar Transportation, Inc., 2008
 WL 857758, at *12 (W.D. Mo. Mar. 31, 2008).

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      ORDERED that Defendant’s Partial Objections to the Magistrate Judge’s Memorandum

Decision and Order Granting Motion for Award of Prejudgment Interest Dated May 21, 2009

(Docket No. 404) is OVERRULED.

      DATED December 16, 2009.



                                         BY THE COURT:



                                         _____________________________________

                                         TED STEWART
                                         United States District Judge




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